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                   UNITED STATES DISTRICT COURT
                                            for the
                        DISTRICT OF MASSACHUSETTS
                                 WESTERN DIVISION




ANTHONY D. GULLUNI,                                            )
DISTRICT ATTORNEY for HAMPDEN COUNTY                           )
in the COMMONWEALTH OF MASSACHUSETTS,                          )
                                                               )
            Plaintiff                                          )
                                                               )
     v.                                                        ) CIVIL ACTION NO.
                                                               )
NATHANIEL R. MENDELL,                                          )
ACTING UNITED STATES ATTORNEY                                  )
for the DISTRICT OF MASSACHUSETTS,                              )
UNITED STATES DEPARTMENT OF JUSTICE,                            )
                                                                )
            Defendant                                           )



                                        COMPLAINT

     This is a civil action wherein the Plaintiff seeks judicial review pursuant to the

  Administrative Procedures Act (“APA”), at 5 U.S.C. §§ 701-706, from the Defendant’s

  wrongful withholding of “false” or “falsified” Springfield Police Department reports and

  attendant photographs or video/digital images, as named in the publicly released Department

  of Justice Report, dated July 8, 2020, entitled “Investigation of the Springfield, Massachusetts

  Police Department’s Narcotics Bureau” [“Report”], co-authored by the United States

  Department of Justice’s - Civil Rights Division and the United States Attorney’s Office for the

  District of Massachusetts, after Plaintiff’s demand to the Defendant for production or

  disclosure pursuant to the federal Housekeeping Act, at 5 U.S.C. § 301, and the prescribed

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Department of Justice Touhy-regulations, see United States ex.rel. Touhy v. Ragen, 340 U.S.

462 (1951), applicable to the request, at 28 C.F.R. § 16.21 et seq., was denied.

                                          I. PARTIES

1.   Plaintiff, Anthony D. Gulluni, is sworn as District Attorney for Hampden County in the

     Commonwealth of Massachusetts (“HDA”). HDA is a state agency of the Commonwealth

     of Massachusetts. By statute, M.G.L. c. 12, §§ 12-13, 27; G.L. c. 218, § 27A, the HDA

     is the primary prosecutorial authority for the western district in the Commonwealth of

     Massachusetts, a district that geographically includes all cities and towns located in

     Hampden County, Massachusetts. HDA Gulluni serves as the chief law enforcement

     officer in the district. The HDA is principally located in Springfield, Massachusetts at the

     Roderick L. Ireland Courthouse, 50 State Street, 3rd Floor, Springfield, Massachusetts

     01102, with a telephone number of (413) 747-1000. Anthony D. Gulluni brings this action

     in his official capacity.

 2. Defendant, Nathaniel R. Mendell, is a natural person and currently serves as the Acting

      United States Attorney for the District of Massachusetts. The United States Attorney’s

      Office for the District of Massachusetts (“USA-MA”), is a governmental agency of the

      United States Department of Justice (“DOJ”). The USA-MA is led by an appointed

      United States Attorney for the District of Massachusetts. The USA-MA represents the

      DOJ on all federal legal matters in the District of Massachusetts, and has a Civil Division

      that includes a Civil Rights Unit. The USA-MA’s principal office is located at the John

      Joseph Moakley United States Federal Courthouse, 1 Courthouse Way, Suite 9200,

      Boston, Massachusetts 02210, with a telephone number of (617) 748-3100. Acting

      United States Attorney Nathaniel R. Mendell is being sued in his official capacity.



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                                    II. JURISDICTION

3. Plaintiff’s action is for a violation of the Administrative Procedures Act (“APA”), and is

   brought pursuant to the provisions of 5 U.S.C. §§ 701-706.

4. Jurisdiction is conferred on this Court by 28 U.S.C. § 1331 (federal question).

                                    III.   VENUE

5. This action is brought in the Western Division of the United States District Court for the

   District of Massachusetts, pursuant to 28 U.S.C. § 1391(e)(1), as the Plaintiff principally

   resides in Springfield, Massachusetts in Hampden County, geographically located in the

   Western Division of the District of Massachusetts, and this is a civil action in which a

   Defendant is an agency of the United States, or an officer or employee of the United

   States or any agency thereof acting in his official capacity.

                             IV. FACTUAL ALLEGATIONS

1. The Plaintiff, Anthony D. Gulluni, is sworn as the District Attorney for the Hampden

   District (HDA) in the Commonwealth of Massachusetts. The HDA is the primary

   prosecutorial agency for Hampden County in the western district of the Commonwealth

   of Massachusetts. M.G.L. c. 12, §§ 12-13, 27; G.L. c. 218, § 27A.

2. In the Commonwealth of Massachusetts, the district attorney, in his official capacity, is

   recognized by case law to be “the people’s elected advocate for a broad spectrum of

   societal interests - from ensuring that criminals are punished for wrongdoing, to

   allocating limited resources to maximize public protection.” Commonwealth v. Gordon,

   410 Mass. 498, 500 (1991). See Commonwealth v. Clerk-Magistrate of West Roxbury

   Div. of Dist. Court, 439 Mass. 352, 360 (2003); Commonwealth v. Clerk of Boston Div.

   of Juvenile Court Dep’t, 432 Mass. 693, 699 (2000).



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3. The Plaintiff, Anthony D. Gulluni, in his official capacity as HDA, has wide discretion

   in determining whether to prosecute an individual, Commonwealth v. Ware, 482 Mass.

   717, 730 (2019), “with due regard to the constitutional and other rights of the defendant.”

   Smith v. Commonwealth, 331 Mass. 585, 591 (1954), citing Berger v. United States, 295

   U.S. 78, 88-89 (1935).

4. The HDA serves a population of 468,467 (est. 2016 Census), in five (5) cities and

   eighteen (18) towns in Hampden County, Massachusetts, and prosecutes cases in state

   courts located in Hampden County, Massachusetts, including five (5) district courts

   (including Springfield District Court), two (2) juvenile courts (including Springfield

   Juvenile Court), and one (1) superior court (Hampden County Superior Court).

5. In Fiscal Years 2016 through 2020, the eight (8) state courts located in Hampden

   County entered cumulative totals of 102,605 criminal cases. See Massachusetts Trial

   Court Statistical Reports and Dashboards, A Listing of Case Statistics for Trial Court

   Departments by Fiscal Year, https://www.mass.gov/info-details/trial-court-statistical-

   reports-and-dashboards#statistics-2014-2020-. Each one of those cases represented an

   individual criminal defendant whose case was filed in a state trial court, or a division of

   a state trial court over that five-year period.

6. The Plaintiff, Anthony D. Gulluni, in his official capacity as HDA, is sworn to uphold

   the state and federal constitutions and the laws of the Commonwealth in the performance

   of his duties, including the constitutional and statutory provisions related to a

   prosecutor’s discovery obligations. In the Matter of a Grand Jury Investigation, 485

   Mass. 641 (2020); Giglio v. Unites States, 405 U.S. 150 (1972); Brady v. Maryland, 373

   U.S. 83 (1963).



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7. The Plaintiff, Anthony D. Gulluni, in his official capacity as HDA, is a member of the

   Massachusetts Bar, and is subject to the procedural rules of the courts of the

   Commonwealth, including the applicable rules of criminal procedure related to a

   prosecutor’s discovery obligations. Mass. R. Crim. P. 14, as amended 444 Mass. 1518

   (2005).

8. The Plaintiff, Anthony D. Gulluni, in his official capacity as HDA, is a member of the

   Massachusetts Bar, and is subject to the rules of professional responsibility, including,

   where appropriate, undertaking procedural and remedial measures in the exercise of his

   discovery obligations. Mass. R. Prof. C. 3.8, Special Responsibilities of a Prosecutor,

   3.8 (d), (g), (i), and (j) and Comment 1.

9. The Plaintiff, Anthony D. Gulluni, in his official capacity as HDA, employs Assistant

   District Attorneys, appointed by him, to assist in the performance of his duties.

10. The HDA’s Assistant District Attorneys, in their official capacities, are sworn to uphold

   the state and federal constitutions and laws of the Commonwealth in the conduct of their

   duties, including the constitutional and statutory provisions related to a prosecutor’s

   discovery obligations. In the Matter of a Grand Jury Investigation, 485 Mass. 641

   (2020); Giglio v. Unites States, 405 U.S. 150 (1972); Brady v. Maryland, 373 U.S. 83

   (1963).

11. The HDA’s Assistant District Attorneys are members of the Massachusetts Bar, and are

   subject to the procedural rules of the courts of the Commonwealth, including the

   applicable rules of criminal procedure related to a prosecutor’s discovery obligations.

   Mass. R. Crim. P. 14, as amended 444 Mass. 1518 (2005).




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12. The HDA’s Assistant District Attorneys are members of the Massachusetts Bar, and are

   subject to the rules of professional responsibility, including, where appropriate,

   undertaking procedural and remedial measures in the exercise of their discovery

   obligations. Mass. R. Prof. C. 3.8, Special Responsibilities of a Prosecutor, 3.8 (d), (g),

   (i), and (j) and Comment 1.

13. One of the prosecutorial functions of the HDA, as defined by state and federal law, and

   court rule, is to disclose to an individual charged with a crime being prosecuted by the

   HDA any known relevant, material, exculpatory evidence in its possession, custody or

   control, even without a request from the individual charged. Committee for Pub. Counsel

   Servs. v. Attorney Gen., 480 Mass. 700, 731 (2018); Commonwealth v. Ayala, 481 Mass.

   46, 56 (2018). See Commonwealth v. Bing Sial Liang, 434 Mass. 131, 134-135 (2001),

   citing United States v. Agurs, 427 U.S. 97, 106-108 (1976) (prosecutors' duty to disclose

   exculpatory evidence not limited to cases where there is a request for such evidence).

14. In the Commonwealth of Massachusetts, the possession, custody or control of potentially

   exculpatory information by the prosecutor, by court rule, is defined as persons under the

   prosecutor’s direction and control, or persons who have participated in investigating or

   evaluating the case and either regularly report to the prosecutor’s office or have done so

   in a particular case. Mass. R. Crim. P. 14, as amended 444 Mass. 1518 (2005).

   Commonwealth v. Beal, 429 Mass. 530, 531 (1999) (prosecutors' duty to disclose extends

   to information in their possession or in possession of persons subject to their control).

15. The Springfield Police Department (“SPD”) is a local law enforcement agency in the

   City of Springfield, Massachusetts, a city geographically located in Hampden County, in

   the Commonwealth of Massachusetts.



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16. Officers of the SPD are required by state statute or court rule to provide arrest, incident,

   or investigatory reports to satisfy probable cause determinations before a magistrate or

   court. See, e.g., Mass. R. Crim. P. 3(g), as appearing 442 Mass. 1502 (2004); G.L. c.

   276, § 58A(4); G.L. c. 276, § 1.

17. SPD arrest, incident, or investigatory reports and attendant photographs or video/digital

   images, among other materials, are provided to HDA assistant district attorneys to fulfill

   the prosecutor’s discovery obligations to an individual charged with a crime.

18. Officers of the SPD testify to the content of arrest, incident, or investigatory reports, and

   attendant photographs or video/digital images, under oath, in grand jury proceedings and

   at pretrial, trial, and post-conviction evidentiary hearings of criminally charged

   individuals in Hampden County Superior Court, Springfield District Court, and

   Springfield Juvenile Court.

19. On July 8, 2019, the Defendant USA-MA publicly released a report, of twenty-eight

   pages in length, co-authored by the Defendant USA-MA and the United States

   Department of Justice – Civil Rights Division [DOJ DIVISION] entitled “Investigation

   of the Springfield, Massachusetts Police Department’s Narcotics Bureau [“Report”]. A

   copy of the Report is attached, and noted as Exhibit A. The contents of the Report, in

   total, are incorporated herein.

20. The Report’s investigation of the SPD Narcotics Bureau was stated to have begun on

   April 13, 2018, and spanned twenty-eight (28) months from its initiation to the release of

   its findings. The statutory authority for the investigation detailed in the report was

   pursuant to the Violent Crime Control and Law Enforcement Act of 1994, 34 U.S.C.

   § 12601.



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21. The Executive Summary of the Report, Report at 3, states that investigators jointly from

   the Defendant USA-MA and the United States Department of Justice - Civil Rights

   Division (“DOJ DIVISION”) conducted a comprehensive review of 114,000 pages of

   Springfield Police Department documents, including an unspecified number of “incident

   reports” and “investigative reports.”

22. The Report, Report at 9, states that Defendant USA-MA and DOJ DIVISION

   investigators sought and received SPD documents, including 1,700 prisoner injury files,

   26,000 arrest reports and over 700 use-of-force reports created from 2013 through 2019.

23. The Report, Report at 2, states that Defendant USA-MA and DOJ DIVISION

   investigators reviewed 5,500 arrest reports and 10 use-of-force reports from the SPD’s

   Narcotics Bureau from 2013-2018.

24. The Report, Report at 2, states that the Defendant USA-MA and DOJ DIVISION

   investigators found “examples where [SPD] Narcotics Bureau officers falsified reports

   to disguise or hide their use of force.”

25. The Report, Report at 9, states there was “… a pattern or practice … [where SPD] officers

   made false reports that were inconsistent with other available evidence, including video

   and photographs….”

26. The Report, Report at 2, states the Defendant USA-MA and DOJ DIVISION

   investigators concluded that “there is reasonable cause to believe that [SPD] Narcotics

   Bureau officers engage[d] in a pattern or practice of excessive force in violation of the

   Fourth Amendment of the United States Constitution.”

27. The Plaintiff, Anthony D. Gulluni, in his official capacity as HDA, did not conduct the

   investigation and was not informed of the process or reported findings of the Defendant’s



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   USA-MA’s and DOJ DIVISION’s twenty-eighth month long joint investigation of the

   SPD’s Narcotics Bureau, prior to the Report’s publication.

28. The Plaintiff, Anthony D, Gulluni, in his official capacity as HDA, does not have

   knowing possession, custody or control of the SPD officers’ reports deemed “false” or

   “falsified” as detailed in the Report.

29. After the Report release, HDA First Assistant District Attorney [HDA First ADA]

   Jennifer N. Fitzgerald received a telephone call from Torey Cummings, an Assistant

   United States Attorney (“AUSA”) with the Civil Rights Division of the Defendant USA-

   MA. AUSA Cummings told HDA First ADA Fitzgerald that she had been involved in

   the investigation and issuance of the Report.

30. AUSA Cummings’ stated purpose of the telephone call was to inquire if the HDA had

   “any questions” about the Report. The parties agreed to speak after the HDA had an

   adequate time to review the contents of the Report.

31. On July 20, 2020, HDA First ADA Fitzgerald spoke with AUSA Cummings, by

   telephone, and, in her official capacity, orally requested of AUSA Cummings that the

   HDA be provided with the SPD reports that investigators referenced in the Report where

   “officers falsified reports” or “officers made false reports”. HDA First ADA Fitzgerald

   told AUSA Cummings that HDA assistant district attorneys needed to identify the false

   or falsified SPD reports and review them to determine their discovery obligations,

   pursuant to Brady [v. Maryland, 373 U.S. 83, 87 (1963)] and the Massachusetts Rules of

   Criminal Procedure [Mass. R. Crim. P. 14, as appearing in 442 Mass. 1518 (2004)]. The

   parties agreed to speak after AUSA Cummings had sufficient time to consider the HDA’s

   request.



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32. On July 28, 2020, HDA First ADA Fitzgerald left a voice message for AUSA Cummings

   concerning the status of the HDA’s July 20th request for the SPD’s officers’ false or

   falsified reports.

33. Later in the day on July 28th, HDA First ADA Fitzgerald received an email from AUSA

   Cummings stating that the request for the SPD’s false or falsified reports was still under

   consideration.

34. Thereafter, on August 6, 2020, HDA First ADA Fitzgerald, AUSA Cummings, and Jude

   Volek, an AUSA with the DOJ DIVISION, spoke by telephone.

35. AUSA Volek told HDA First ADA Fitzgerald that he had participated in the investigation

   and issuance of the Report.

36. In the August 6th telephone conversation, HDA’s oral request for the production of the

   SPD officers’ false or falsified reports was denied.

37. During the August 6th telephone conversation, AUSA Cummings and AUSA Volek

   collectively advised HDA First ADA Fitzgerald that after discussion with members of

   the Department of Justice’s Professional Responsibility Unit and the DOJ DIVISION,

   the Defendant USA-MA and the DOJ concluded it would withhold the SPD’s false or

   falsified reports from the HDA.

38. The grounds AUSA Cummings and AUSA Volek provided HDA First ADA Fitzgerald

   to withhold the “false”or “falsified” reports were: (1) the requested reports were

   confidential and (2) available from the SPD; (3) the calculus for exculpatory information

   was different for the Department of Justice; and, (4) the rules for Brady material did not

   extend to the DOJ DIVISION.




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39. In response, HDA First ADA Fitzgerald told AUSA Cummings and AUSA Volek, during

   the August 6th telephone conversation, that the HDA was only seeking the production of

   SPD officers’ false or falsified reports as detailed in the Report, and was not seeking any

   confidential, privileged, or investigatory material.

40. AUSA Cummings and AUSA Volek then told HDA First ADA Fitzgerald to request the

   SPD officers’ false or falsified reports from the SPD.

41. When further questioned by HDA First ADA Fitzgerald about this statement, AUSA

   Cummings and AUSA Volek acknowledged that SPD was not told specifically which

   reports of the thousands of reports that had been provided to the Defendant USA-MA

   and DOJ DIVISION investigators during the investigation were false or falsified, as

   found in the Report. A fact later confirmed by the SPD.

42. On August 19, 2020, the Plaintiff, Anthony D. Gulluni, in his official capacity as HDA,

   wrote a letter to Andrew E. Lelling, then-United States Attorney for the Defendant (USA-

   MA), in his official capacity as lead attorney for the Defendant USA-MA. A copy of the

   letter is attached, and noted as Exhibit B. The contents of the letter, in total, are

   incorporated herein.

43. On August 19, 2020, the Plaintiff, Anthony D. Gulluni, in his official capacity as HDA,

   wrote a letter to Eric S. Dreiband, then-Assistant Attorney General (AAG), in his official

   capacity as lead attorney for the DOJ DIVISION that joined the Defendant USA-MA in

   the investigation and issuance of the Report. A copy of the letter is attached, and noted

   as Exhibit C. The contents of the letter, in total, are incorporated herein.




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44. The Plaintiff’s, Anthony D, Gulluni’s August 19th letter to then-USA-MA Lelling was

   sent by FedEx courier, and delivered to his principal address on August 20, 2020 at 11:41

   am.

45. The Plaintiff’s, Anthony D. Gulluni’s, August 19th letter to then-AAG Dreiband was sent

   by FedEx courier, and delivered to his principal address on August 20, 2020 at 9:54 am.

46. The Plaintiff’s, Anthony D. Gulluni’s, August 19th letters to then-USA-MA Lelling, in

   his official capacity as lead attorney for the Defendant USA-MA, and then-AAG

   Dreiband, in his official capacity as lead attorney for the DOJ DIVISION, were identical

   in content, and requested of each the production or disclosure of “false” or “falsified”

   SPD reports and attendant photographs or video/digital images, more specifically

   described in the letter at pp. 4-5, and generally categorized in the publicly released

   Report, co-authored by the Defendant USA-MA and DOJ DIVISION.

47. The Plaintiff, Anthony D. Gulluni, in his official capacity as HDA, requested the

   production of documents, pursuant to the federal Housekeeping Act found at 5 U.S.C.

   § 301, and the prescribed DOJ regulations applicable to the request found at 28 C.F.R.

   § 16.21 et seq., a so-called Touhy [v. Ragen, 340 U.S. 462 (1951),] request.

48. The Plaintiff’s, Anthony D. Gulluni’s, request for production or disclosure of documents,

   in his official capacity as HDA, from then-USA-MA Lelling, in his official capacity as

   lead attorney for the Defendant USA-MA, and then-AAG Dreiband, in his official

   capacity as lead attorney for the DOJ DIVISION, specifically sought, at pp.4-5:

         a. A copy of all Springfield Police Department reports, including, but not limited to

            incident reports, investigative reports, arrest reports, use-of-force reports, or

            contents of a “prisoner injury file” (as described in the Report, at 7), determined



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          as examples where Narcotics Bureau officers falsified reports to disguise or hide

          their use of force[;]”;

       b. A copy of all Springfield Police Department reports, including, but not limited to

          incident reports, investigative reports, arrest reports, use-of-force reports, or

          contents of a “prisoner injury file” (as described in the Report, at 7), determined

          as “…a pattern or practice …. [where] officers made false reports that were

          inconsistent with other available evidence, including video and photographs….”,

          and;

       c. A copy of all photographs, or video/digital material determined as inconsistent

          with any Springfield Police Department officers’ reports, including, but not

          limited to incident reports, investigative reports, arrest reports, use-of-force

          reports, or contents of a “prisoner injury file” (as described in the Report, at 7).

49. Between August 20, 2020 and September 14, 2020, then-USA-MA Lelling, in his official

   capacity as lead attorney for the Defendant USA-MA, did not provide the Plaintiff,

   Anthony D. Gulluni, in his official capacity as HDA, with a response, either verbally or

   in writing, to the Plaintiff’s, Anthony D, Gulluni’s, August 19th demand for the

   production or disclosure of “false” or “falsified” SPD reports and attendant photographs

   or video/digital images, more specifically described in the Plaintiff’s, Anthony D.

   Gulluni’s August 19th letter, at pp. 4-5, and generally categorized in the publicly released

   Report, co-authored by the Defendant USA-MA and DOJ DIVISION.

50. Between August 20, 2020 and September 14, 2020, then-AAG Dreiband, in his official

   capacity as lead attorney for the DOJ DIVISION, did not provide the Plaintiff, Anthony

   D. Gulluni, in his official capacity as HDA, with a response, either verbally or in writing,



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   to the Plaintiff’s, Anthony D. Gullini’s, August 19th demand for the production or

   disclosure of “false” or “falsified” SPD reports and attendant photographs or

   video/digital images, more specifically described in HDA Gulluni’s August 19th letter, at

   pp. 4-5, and generally categorized in the publicly released Report, co-authored by the

   Defendant USA-MA and DOJ.

51. On September 14, 2020, the Plaintiff, Anthony D. Gulluni, in his official capacity as

   HDA, wrote a second letter to then-USA-MA Lelling, again in his official capacity as

   lead attorney for the Defendant USA-MA. A copy of the letter is attached, and noted as

   Exhibit D. The contents of the letter, in total, are incorporated herein.

52. On September 14, 2020, the Plaintiff, Anthony D. Gulluni, in his official capacity as

   HDA, wrote a second letter to then- AAG Dreiband, again in his official capacity as lead

   attorney for the DOJ DIVISION. A copy of the letter is attached, and noted as Exhibit

   E. The contents of the letter, in total, are incorporated herein.

53. The Plaintiff’s, Anthony D Gulluni’s, September 14th letter to then-USA-MA Lelling was

   sent, by FedEx courier, and delivered to his principal address on September 15, 2020 at

   12:08 am.

54. The Plaintiff’s, Anthony D. Gulluni’s, September 14th letter to Defendant AAG Dreiband

   was sent by FedEx courier, and delivered to his principal address on September 15, 2020

   at 10:18 am.

55. The Plaintiff’s, Anthony D. Gulluni’s, second letters to then-USA-MA Lelling, in his

   official capacity as lead attorney for the Defendant USA-MA, and then-AAG Dreiband,

   in his official capacity as lead attorney for the DOJ DIVISION, were identical in content,

   and again requested of each the production or disclosure of “false” or “falsified” SPD



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   reports and attendant photographs or video/digital images, more specifically described in

   the letter at pp. 4-5, and generally categorized in the publicly released Report, co-

   authored by the Defendant USA-MA and the DOJ DIVISION.

56. The Plaintiff’s, Anthony D. Gulluni’s, September 14th letters, in his official capacity as

   HDA, reminded the federal prosecutors that the information sought fell squarely within

   the type of information federal prosecutors routinely seek, evaluate, and disclose

   pursuant to the DOJ’s so-called Giglio Policy, appearing at United States Department of

   Justice,   Justice    Manual,     Tit.    9-5.100    (updated   Jan.    2020)    (Manual),

   https://www.justice.gov/jm/jm-9-50000-issues-related-trials-andother-court-

   proceedings[https//perma.cc/NKL2-YZ2J].

57. On October 29, 2020, then-USA-MA Lelling, in his official capacity as lead attorney for

   the Defendant USA-MA, served a letter, dated October 21, 2020, upon the Plaintiff,

   Anthony D. Gulluni, in his official capacity as HDA, by electronic mail. Then-USA-MA

   Lelling’s letter responded to the Plaintiff’s, Anthony D. Gulluni’s, August 19th and

   September 14th letters. A copy of the letter is attached, and noted as Exhibit F. The

   contents of the letter, in total, are incorporated herein.

58. Then-USA-MA Lelling’s October 21st letter to the Plaintiff, Anthony D. Gulluni, notified

   him that “[a]fter carefully considering [the Plaintiff’s, Anthony D. Gulluni’s] request …

   and reviewing the relevant procedural and substantive law, [then-USA-MA Lelling]

   determined that [the Plaintiff’s, Anthony D. Gulluni’s] requests [were] improper under

   the applicable substantive and procedural requirements. Therefore, [then-USA-MA

   Lelling would not] authorize the disclosure of the official information that [the Plaintiff,

   Anthony D. Gulluni] requested”.



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59. The stated grounds for the denial of the production or disclosure of all photographs, or

   video/digital material determined as inconsistent with any SPD officers’ reports,

   including, but not limited to incident reports, investigative reports, arrest reports, use-of-

   force reports, or contents of a “prisoner injury file” (as described in the Report, at 7), as

   requested in the August 19th and September 14th letters of the Plaintiff, Anthony D.

   Gulluni, to then-USA-MA Lelling, in his official capacity as the lead attorney for the

   Defendant USA-MA, were two-fold, and founded upon 28 C.F.R. § 16.26(a)(2) and 28

   C.F.R. § 16.26 (b)(5): namely, (1) the requested information was privileged; and, (2) the

   requested information belongs to the SPD.

60. Then-USA-MA Lelling claimed he based his decision to deny production of the

   requested documents to the Plaintiff, Anthony D. Gulluni, upon two privileges. First,

   then-USA-MA Lelling stated “the documents sought [were] subject to the work product

   privilege because they reflect the thoughts and impressions of DOJ attorneys, paralegals

   and investigators[,]” without an extraordinary justification for release. Then-USA-MA

   Lelling wrote that, “[h]ere, there is no ‘extraordinary justification.’ As prosecutors we

   are sympathetic to the need you expressed in your letter ‘to meet my constitutional,

   statutory and ethical obligations’ regarding disclosure of the information about police

   misconduct … however, the thoughts and impressions of the [Defendant USA-MA] and

   DOJ employees contained in the Report do not amount to ‘factual findings and legal

   conclusions binding on, or admissible in, any court.’” Second, then-USA-MA Lelling

   stated “this Office [Defendant USA-MA] has determined that the documents sought are

   subject to the law enforcement privilege because they would reveal investigative records




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   compiled in connection with an open and ongoing civil investigation … and would

   interfere with these ongoing law enforcement proceedings.”

61. Then-USA-MA Lelling claimed these privileges, on behalf of the Defendant USA-MA

   and then-AAG Dreiband and the DOJ DIVISION, even though the Plaintiff’s, Anthony

   D. Gulluni’s, August 19th and September 14th letters did not request any documents from

   the investigation that consisted of “… IIU files, training materials, or other internal,

   confidential or privileged documents of the [SPD] provided to investigators, or incident

   reports, investigative reports, arrest reports, use-of-force reports, or contents of a

   “prisoner injury file” (as described in the Report, at 7) determined not to contain false or

   falsified information, or statements, notes or recordings of investigators’ interviews with

   [SPD] officers, City of Springfield officials or community members”, and “the disclosure

   of any information concerning sensitive investigative techniques, current investigations,

   classified information, informants or security programs such as the Federal Witness

   Security Program.”

62. Then-USA-MA Lelling’s October 21st letter also claimed “[t]he requested documents

   belong to and originated with the SPD” when denying production of the requested

   documents to the Plaintiff, Anthony D. Gulluni. USA-MA Lelling’s October 21st letter

   stated, “SPD produced these documents to the [Defendant USA-MA] pursuant to a

   confidentiality agreement as part of our civil pattern or practice investigation. Because

   these documents are available from SPD – a department with which your office likely

   works daily – they should not be sought from the [Defendant USA-MA].”

63. Then-USA-MA Lelling, in his capacity as lead attorney for the Defendant USA-MA,

   informed the Plaintiff, Anthony D. Gulluni, that his October 21st letter was “the final



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   agency decision of the USAO in response to the [Plaintiff’s, Anthony D. Gulluni’s]

   Touhy request[,]” binding upon the Defendant USA-MA and DOJ DIVISION.

64. Prior to issuing his final agency decision, then-USA-MA Lelling, in his official capacity

   as lead attorney for the Defendant USA-MA, did not discuss or otherwise negotiate the

   terms of the Plaintiff’s, Anthony D. Gulluni’s, Touhy requests, or any withdrawal

   pursuant to 28 C.F.R. § 16.24.

65. AAG Dreiband, in his official capacity for the DOJ DIVISION, never responded,

   verbally or in writing, to the Plaintiff’s, Anthony D. Gulluni’s, August 19th or September

   14th letters. AAG Dreiband, in his official capacity for the DOJ DIVISION, has not

   discussed or otherwise negotiated the terms of the Plaintiff’s, Anthony D. Gulluni’s,

   Touhy requests, or any withdrawal pursuant to 28 C.F.R. § 16.24.

66. The plaintiff’s, Anthony D. Gulluni’s, September 14th letter notified then-AAG

   Dreiband, in his capacity of the DOJ DIVISION, that a lack of response by September

   30, 2020 would be considered a “final agency decision, as those terms are defined by

   federal administrative and relative case law.”

67. The Plaintiff’s, Anthony D. Gulluni’s September 14th letter notified then-AAG Dreiband,

   in his official capacity as lead attorney for the DOJ DIVISION, that, without a further

   response by September 30, 2020, then-AAG Dreiband and DOJ DIVISION’s final

   grounds for withholding the production or disclosure of the demanded reports and

   attendant photographs or video/digital material would be: (1) the requested false or

   falsified reports were confidential and (2) available from the SPD; (3) the calculus for

   exculpatory information was different for the Department of Justice; and, (4) the rules

   for Brady material do not extend to the DOJ DIVISION,:.



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68. On December 2, 2020, the Plaintiff, Anthony D. Gulluni, in his official capacity as HDA,

   wrote a letter to Springfield Police Commissioner Cheryl Clapprood requesting the same

   documents he had requested from federal investigators of the Defendant USA-MA and

   DOJ DIVISION. A copy of the letter is attached, and noted as Exhibit G. The contents

   of the letter, in total, are incorporated herein.

69. The Plaintiff’s, Anthony D. Gulluni’s, December 2nd letter, informed the SPD that his

   request for these documents “reflects…the need for prosecutors to learn of potential

   impeachment information regarding all the investigating agents and employees

   participating in the cases they prosecute, so that they may consider whether the

   information should be disclosed to defense counsel under the Brady and Giglio line of

   cases.” In the Matter of a Grand Jury Investigation, 485 Mass. 641, 660 (2020)”, and

   that, “There [was] no other reasonable means available to [his] office to obtain the

   production or disclosure of the ‘false’ or ‘falsified’ [SPD] reports and attendant

   photographs or video/digital images, as cited in the July 8th Report.”

70. On December 10, 2020, Springfield City Solicitor Edward M. Pikula, responded, by

   letter, that “the City of Springfield has not been provided any information from the

   Department of Justice specifying any identifying information as to the case numbers,

   names of specific officers or names of specific criminal defendants described in the

   Report.” A copy of the letter is attached, and noted as Exhibit H. The contents of the

   letter, in total, are incorporated herein.

71. Attorney Pikula’s December 10th letter confirmed the facts, as told to HDA First ADA

   Fitzgerald by AUSAs Cumming and Volek during their August 6th telephone

   conversation, see supra at paragraph 41, that the Defendant USA-MA has not advised



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   the SPD of which of the tens of thousands of reports it had provided to federal

   investigators during their investigation were false or falsified, as found in the DOJ

   Report.

72. Attorney Pikula’s December 10th letter also informed the District Attorney for Hampden

   County that all of the materials supplied to federal investigators were available to be

   reviewed by his office in a “reasonable format and on a reasonable schedule in a phased

   production, similar to the process followed with the Department of Justice.”

73. On March 11, 2021, the Plaintiff, Anthony D, Gulluni, in his official capacity as HDA,

   wrote a letter to Attorney Pikula, in his capacity as SPD’s legal counsel, and informed

   the SPD, that, as district attorney, he could not, legally or practically, recreate a civil

   investigation that was conducted by and through a federal statutory scheme; but that he

   would designate office personnel to review the materials provided to the Defendant USA-

   MA and DOJ DIVISION in its investigation. Such review was reported to consist of tens

   of thousands of pages spanning six years. A copy of the letter is attached, and noted as

   Exhibit I.

74. HDA First ADA Fitzgerald has attempted repeatedly, through Attorney Pikula, to

   coordinate the procedural logistics of the Plaintiff’s, Anthony D. Gulluni’s, in his

   capacity as HDA, review of the requested materials. As of May 18, 2021, the SPD had

   not provided any documents for review.

                                     COUNT # 1
       VIOLATIONS OF THE ADMINISTRATIVE PROCEDURE ACT
                                 5 U.S.C. §§ 701-706




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75. Plaintiff, Anthony D. Gulluni, in his official capacity as District Attorney for Hampden

   County, repeats and re-alleges each and every allegation as contained in paragraphs #1

   through #74, as if fully set forth herein.

76. With indifference to Plaintiff’s, Anthony D. Gulluni’s, constitutional, statutory and

   ethical obligations as the primary prosecuting authority in Hampden County, Acting

   USA-MA Nathaniel R. Mendell, as lead attorney for the Defendant USA-MA has

   unlawfully withheld or unreasonably delayed the production or disclosure of all SPD

   reports, including, but not limited to incident reports, investigative reports, arrest reports,

   use-of-force reports, or contents of a “prisoner injury file” (as described in the Report,

   at 7), determined as examples where SPD Narcotics Bureau officers falsified reports to

   disguise or hide their use of force, as requested in the Plaintiff’s, Anthony D. Gulluni’s,

   July 20th oral request of HDA First ADA Fitzgerald and August 19th and September 14th

   letters to then USA-MA Andrew E. Lelling.

77. With indifference to Plaintiff’s, Anthony D. Gulluni’s, constitutional, statutory and

   ethical obligations as the primary prosecuting authority in Hampden County, Acting

   USA-MA Nathaniel R. Mendell, as lead attorney for the Defendant USA-MA, has

   unlawfully withheld the production or disclosure of all SPD reports, including, but not

   limited to incident reports, investigative reports, arrest reports, use-of-force reports, or

   contents of a “prisoner injury file” (as described in the Report, at 7), determined as “…a

   pattern or practice …. [where] officers made false reports that were inconsistent with

   other available evidence, including video and photographs….”, as requested in the

   Plaintiff’s, Anthony D. Gulluni’s, July 20th oral request of HDA First ADA Fitzgerald

   and August 19th and September 14th letters to then USA-MA Andrew E. Lelling.



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78. With indifference to Plaintiff’s, Anthony D. Gulluni’s, constitutional, statutory and

   ethical obligations as the primary prosecuting authority in Hampden County, Acting

   USA-MA Nathaniel R. Mendell, as lead attorney for the Defendant USA-MA, has

   unlawfully withheld or unreasonably delayed the production or disclosure of all

   photographs, or video/digital material determined as inconsistent with any SPD officers’

   reports, including, but not limited to incident reports, investigative reports, arrest reports,

   use-of-force reports, or contents of a “prisoner injury file” (as described in the Report, at

   7). as requested in the Plaintiff’s, Anthony D. Gulluni’s, July 20th oral request of HDA

   First ADA Fitzgerald and August 19th and September 14th letters to then USA-MA

   Andrew E. Lelling.

79. With indifference to Plaintiff’s, Anthony D. Gulluni’s, constitutional, statutory and

   ethical obligations as the primary prosecuting authority in Hampden County, Acting

   USA-MA Nathaniel R. Mendell, as lead attorney for the Defendant USA-MA and DOJ

   DIVISION, has violated 28 C.F.R. §16.24, by then-USA-MA Lelling and then-AAG

   Dreiband failing to discuss or otherwise negotiate the terms of the Plaintiff’s, Anthony

   D. Gulluni’s, request for the production or disclosure of “false” or “falsified” Springfield

   Police Department reports and attendant photographs or video/digital images generally

   categorized in the publicly released Department of Justice Report, dated July 8, 2020,

   entitled Investigation of the Springfield, Massachusetts Police Department’s Narcotics

   Bureau (“Report”), co-authored by the United States Department of Justice’s Civil Rights

   Division and the United States Attorney’s Office for the District of Massachusetts, the

   prescribed Department of Justice Touhy-regulations found at 28 C.F.R. § 16.21 et. seq.,

   prior to the Defendant USA-MA issuing its final agency decision. Failure to engage in



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   such discussions or negotiations, as contemplated by 28 C.F.R. § 16.24, is arbitrary,

   capricious, an abuse of discretion, and not in accordance with law.

80. With indifference to Plaintiff’s, Anthony D. Gulluni’s, constitutional, statutory and

   ethical obligations as the primary prosecuting authority in Hampden County, Acting

   USA-MA Nathaniel R. Mendell, as lead attorney for the Defendant USA-MA and DOJ

   DIVISION, has violated DOJ28 C.F.R. § 16.24, by then-USA-MA Lelling’s and then-

   AAG Dreiband’s failure to produce or disclose any of the “false” or “falsified”

   Springfield Police Department reports and attendant photographs or video/digital images

   generally categorized in the publicly released Department of Justice Report, dated July

   8, 2020, entitled Investigation of the Springfield, Massachusetts Police Department’s

   Narcotics Bureau (“Report”), co-authored by the United States Department of Justice’s

   Civil Rights Division and the United States Attorney’s Office for the District of

   Massachusetts, contrary to the practice and policy of information federal prosecutors

   routinely seek, evaluate, and disclose pursuant to the United States Department of

   Justice’s so-called Giglio Policy, appearing at United States Department of Justice,

   Justice     Manual,      Tit.     9-5.100     (updated      Jan.      2020)    (Manual),

   https://www.justice.gov/jm/jm-9-50000-issues-related-trials-andother-court-

   proceedings[https//perma.cc/NKL2-YZ2J]. Failure to disclose such information, as

   contemplated by the so-called Giglio Policy, is arbitrary, capricious, an abuse of

   discretion, and not in accordance with law.

81. The grounds for the denial of the production or disclosure of all SPD reports, including,

   but not limited to incident reports, investigative reports, arrest reports, use-of-force

   reports, or contents of a “prisoner injury file” (as described in the Report, at 7),



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   determined as examples where SPD Narcotics Bureau officers falsified reports to

   disguise or hide their use of force, as requested in the Plaintiff’s, Anthony D. Gulluni’s,

   July 20th oral request of HDA First ADA Fitzgerald and August 19th and September 14th

   letters to then-USA-MA Lelling, founded upon 28 C.F.R. § 16.26(a)(2) and 28 C.F.R.

   § 16.26 (b)(5), namely: (1) the requested information is privileged by the work product

   privilege and law enforcement privilege; and, (2) the requested information belongs to

   the SPD, was subject to a confidentiality agreement, and should be obtained solely from

   the SPD, by Acting USA-MA Nathaniel R. Mendell, as lead attorney for the Defendant

   USA-MA, are arbitrary, capricious, an abuse of discretion, and not in accordance with

   law.

82. The grounds for the denial of the production or disclosure of all SPD reports, including,

   but not limited to incident reports, investigative reports, arrest reports, use-of-force

   reports, or contents of a “prisoner injury file” (as described in the Report, at 7),

   determined as “…a pattern or practice …. [where] officers made false reports that were

   inconsistent with other available evidence, including video and photographs…,” as

   requested in the Plaintiff’s, Anthony D. Gulluni’s, July 20th oral request of HDA First

   ADA Fitzgerald and August 19th and September 14th letters to then-USA-MA Lelling,

   founded upon 28 C.F.R. § 16.26(a)(2) and 28 C.F.R. § 16.26 (b)(5), namely: (1) the

   requested information is privileged by the work product privilege and the law

   enforcement privilege; and, (2) the requested information belonged to the SPD, was

   subject to a confidentiality agreement, and should be obtained solely from the SPD, by

   Acting USA-MA Nathaniel R. Mendell, as lead attorney for the Defendant USA-MA,

   are arbitrary, capricious, an abuse of discretion, and not in accordance with law.



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83. The grounds for the denial of the production or disclosure of all photographs, or

   video/digital material determined as inconsistent with any SPD officers’ reports,

   including, but not limited to incident reports, investigative reports, arrest reports, use-of-

   force reports, or contents of a “prisoner injury file” (as described in the Report, at 7), as

   requested in the August 19th and September 14th letters of the Plaintiff, Anthony D.

   Gulluini, to then-USA-MA Lelling, founded upon 28 C.F.R. § 16.26(a)(2) and 28 C.F.R.

   § 16.26 (b)(5), namely: (1) the requested information is privileged by the work product

   privilege and the law enforcement privilege; and, (2) the requested information belonged

   to the SPD, was subject to a confidentiality agreement, and should be obtained solely

   from the SPD, by Acting USA-MA Nathaniel R. Mendell, as lead attorney for the

   Defendant USA-MA, are arbitrary, capricious, an abuse of discretion, and not in

   accordance with law.

84. The grounds for the denial of the production or disclosure of all SPD reports, including,

   but not limited to incident reports, investigative reports, arrest reports, use-of-force

   reports, or contents of a “prisoner injury file” (as described in the Report, at 7),

   determined as examples where SPD Narcotics Bureau officers falsified reports to

   disguise or hide their use of force, as requested in the Plaintiff’s, Anthony D. Gulluni’s,

   July 20th oral request of HDA First ADA Fitzgerald and August 19th and September 14th

   letters to then-AAG Drieband, as lead attorney for the DOJ DIVISION; namely: (1) the

   requested false or falsified reports were confidential and (2) available from the SPD; (3)

   the calculus for exculpatory information was different for the Department of Justice; and,

   (4) the rules for Brady material do not extend to the DOJ, as incorporated in the final

   agency decision of the Defendant USA-MA, by Acting USA-MA Nathaniel R. Mendell,



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   as lead attorney for the Defendant USA-MA, are arbitrary, capricious, an abuse of

   discretion and not in accordance with law.

85. The grounds for the denial of the production or disclosure of all SPD reports, including,

   but not limited to incident reports, investigative reports, arrest reports, use-of-force

   reports, or contents of a “prisoner injury file” (as described in the Report, at 7),

   determined as “…a pattern or practice …. [where] officers made false reports that were

   inconsistent with other available evidence, including video and photographs….”, as

   requested in the Plaintiff’s, Anthony D. Gulluni’s, July 20th oral request of HDA First

   ADA Fitzgerald and August 19th and September 14th letters to then-AAG Dreiband, as

   lead attorney for the DOJ DIVISION, namely: (1) the requested false or falsified reports

   were confidential and (2) available from the SPD; (3) the calculus for exculpatory

   information was different for the Department of Justice; and, (4) the rules for Brady

   material do not extend to the DOJ DIVISION, as incorporated in the final agency

   decision of the Defendant USA-MA, by Acting USA-MA Nathaniel R. Mendell, as lead

   attorney for the Defendant USA-MA, are arbitrary, capricious, an abuse of discretion and

   not in accordance with law.

86. The grounds for the denial of the production or disclosure of all photographs, or

   video/digital material determined as inconsistent with any SPD officers’ reports,

   including, but not limited to incident reports, investigative reports, arrest reports, use-of-

   force reports, or contents of a “prisoner injury file” (as described in the Report, at 7), as

   requested in the August 19th and September 14th letters of the Plaintiff, Anthony D.

   Gulluini, to then-AAG Dreiband, namely: (1) the false or falsified reports were

   confidential and (2) available from the SPD; (3) the calculus for exculpatory information



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         was different for the Department of Justice; and, (4) the rules for Brady material do not

         extend to the DOJ DIVISION, as incorporated in the final agency decision of the

         Defendant USA-MA, by Acting USA-MA Nathaniel R. Mendell, as lead attorney for the

         Defendant USA-MA, are arbitrary, capricious, an abuse of discretion and not in

         accordance with law.

                                           V.   RELIEF

       WHEREFORE, Plaintiff, Anthony D. Gulluni, in his official capacity as District Attorney

for Hampden County (Commonwealth of Massachusetts), repeats and re-alleges each and every

allegation as contained in paragraphs #1 through #86, as if fully set forth herein, and requests this

Honorable Court enter judgment against Acting USA-MA Nathaniel R. Mendell, as lead attorney

for the Defendant USA-MA, on all counts of this complaint, and

       a) Declare unlawful and set aside the final agency decision on behalf of then-USA-MA

           Andrew E. Lelling, as lead attorney for the Defendant US-MA that denied, delayed

           production, or failed to disclose the “false” or “falsified” SPD reports and attendant

           photographs or video/digital images, more specifically described in the Plaintiff’s,

           Anthony D. Gulluni’s, July 20th oral request of HDA First ADA Fitzgerald, and August

           19th and September 14th letters to then-USA-MA Lelling, as lead attorney for the

           Defendant USA-MA and then-AAG Dreiband, as lead attorney for the DOJ DIVISION,

           at pp. 4-5, and generally categorized in the publicly released Department of Justice

           Report, dated July 8, 2020, entitled Investigation of the Springfield, Massachusetts

           Police Department’s Narcotics Bureau [“Report”], co-authored by the Defendant USA-

           MA and DOJ DIVISION.



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b) Declare that Acting USA-MA Nathaniel R. Mendell’s, as lead attorney for the

   Defendant USA-MA’s, denial or delayed production or disclosure of the “false” or

   “falsified” SPD reports and attendant photographs or video/digital images, more

   specifically described in the Plaintiff’s, Anthony D. Gulluni’s , July 20th oral request

   of HDA First ADA Fitzgerald, and August 19th and September 14th letters to then-

   USA-MA Lelling, in his capacity as lead attorney for the Defendant USA-MA and

   then-AAG Dreiband, in his capacity as lead attorney for the DOJ DIVISION, at pp. 4-

   5, and generally categorized in the publicly released Department of Justice Report,

   dated July 8, 2020, entitled Investigation of the Springfield, Massachusetts Police

   Department’s Narcotics Bureau [“Report”], co-authored by the Defendant USA-MA

   and DOJ DIVISION were arbitrary, capricious, an abuse of discretion, or not otherwise

   in accordance with law; and

c) Compel the production of the following materials to the Plaintiff, Anthony D. Gulluni,

   in his capacity as HDA, as requested in the July 20th oral request of HDA First ADA

   Fitzgerald, and August 19th and September 14th letters to then-USA-MA Lelling, in his

   capacity as lead attorney for the Defendant USA-MA and then-AAG Dreiband, in his

   capacity as lead attorney for the DOJ DIVISION, at pp. 4-5:

      (1) A copy of all Springfield Police Department reports, including, but not limited

           to incident reports, investigative reports, arrest reports, use-of-force reports, or

           contents of a “prisoner injury file” (as described in the Report, at 7), determined

           as examples where Narcotics Bureau officers falsified reports to disguise or

           hide their use of force[;]”;




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              (2) A copy of all Springfield Police Department reports, including, but not limited

                  to incident reports, investigative reports, arrest reports, use-of-force reports, or

                  contents of a “prisoner injury file” (as described in the Report, at 7), determined

                  as “…a pattern or practice …. [where] officers made false reports that were

                  inconsistent with other available evidence, including video and photographs….”,

                  and;

              (3) A copy of all photographs, or video/digital material determined as inconsistent

                  with any Springfield Police Department officers’ reports, including, but not

                  limited to incident reports, investigative reports, arrest reports, use-of-force

                  reports, or contents of a “prisoner injury file” (as described in the Report, at 7).

                                    VI.    CERTIFICATION

       Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my

knowledge, information, and belief that this complaint: (1) is not being presented for an improper

purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;

(2) is supported by existing law or by a nonfrivolous argument for extending, modifying, or

reversing existing law; (3) the factual contentions have evidentiary support or, if specifically so

identified, will likely have evidentiary support after a reasonable opportunity for further

investigation or discovery; and (4) the complaint otherwise complies with the requirements of Rule

11.




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Respectfully submitted,

Date: May 18, 2021

/s/ Anthony D. Gulluni
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